                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION

RALPH HOLLIDAY                                )
                       Plaintiff,             )
                                              )
v.                                            )      JUDGMENT
                                              )
                                              )      No: 4:19-CV-56-FL
                                              )
ANDREW SAUL,                                  )
Commissioner of Social Security,              )
                     Defendant.               )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of the parties’ cross-motions for judgment on the pleadings and the memorandum and
recommendation of the United States Magistrate Judge, to which objection was filed.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
September 25, 2020, and for the reasons set forth more specifically therein, that plaintiff’s motion
for judgment on the pleadings is granted and defendant’s motion for judgment on the pleadings is
denied. This matter is remanded to defendant pursuant to sentence four of 42 U.S.C. § 405(g) for
further proceedings.

This Judgment Filed and Entered on September 25, 2020, and Copies To:
Charlotte Williams Hall (via CM/ECF Notice of Electronic Filing)
Amanda B. Gilman (via CM/ECF Notice of Electronic Filing)


September 25, 2020                            PETER A. MOORE, JR. CLERK

                                                /s/ Sandra K. Collins
                                              (By) Sandra K. Collins, Deputy Clerk




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